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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
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                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
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                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                     UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                               DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                              Case No. 21-14486-abl
                                                               INFINITY CAPITAL MANAGEMENT, INC.                      Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                  Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14                               SECOND AMENDED NOTICE OF
                                                                               RULE 2004 EXAMINATION OF OLIVER HEMMERS
                                                      15
                                                           TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
                                                      16
                                                                    PLEASE TAKE NOTICE that, pursuant to Fed. R. Bankr. P. 2004 and the Order Granting
                                                      17
                                                           Ex-Parte Motion for an Order Directing Examination Pursuant to Fed. R. Bankr. P. 2004 of Oliver
                                                      18
                                                           Hemmers [ECF No. 29], HASelect-Medical Receivables Litigation Finance Fund International SP
                                                      19
                                                           (“HASelect”), will take the examination of Oliver Hemmers on November 9, 2021 at 12:00 p.m.
                                                      20
                                                           (PT) before a notary public or other officer authorized by law to administer oaths (the “2004
                                                      21
                                                           Examination”).
                                                      22
                                                                    Unless otherwise indicated in a subsequent court filing, the 2004 Examination shall take
                                                      23
                                                           place remotely via videoconference. Additional information regarding participation in the 2004
                                                      24
                                                           Examination via videoconference will be provided upon request.
                                                      25
                                                                     Notice is further given that the 2004 Examination will be recorded by video and/or
                                                      26
                                                           stenographic means pursuant to Fed. R. Civ. P. 30. In the event the examination is recorded by
                                                      27
                                                           means other than written transcription, at the time of introduction and/or filing of such recording, a
                                                      28


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                                                       1
                                                           written transcription of the examination shall be presented to the Court.
                                                       2
                                                                  DATED this 4th day of November 2021.
                                                       3
                                                                                                                SHEA LARSEN
                                                       4

                                                       5                                                        /s/ Bart K. Larsen, Esq.
                                                                                                                Bart K. Larsen, Esq.
                                                       6                                                        Nevada Bar No. 8538
                                                                                                                1731 Village Center Circle, Suite 150
                                                       7                                                        Las Vegas, Nevada 89134

                                                       8                                                        Attorneys for HASelect-Medical Receivables
                                                                                                                Litigation Finance Fund International SP
                                                       9

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              1731 Village Center Circle, Suite 150




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                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                       1                                   CERTIFICATE OF SERVICE

                                                       2        1.    On November 4, 2021, I served the following document(s):

                                                       3        SECOND AMENDED NOTICE OF RULE 2004 EXAMINATION OF OLIVER
                                                                HEMMERS
                                                       4
                                                                2.    I served the above document(s) by the following means to the persons as listed
                                                       5              below:

                                                       6              ☒        a.       ECF System:

                                                       7        ROBERT E. ATKINSON
                                                                Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8
                                                                CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                      10        BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                LLC
                                                      11        birelan@imtexaslaw.com, jstephens@imtexaslaw.com; dhall@imtexaslaw.com;
                                                                ynguyen@imtexaslaw.com
              1731 Village Center Circle, Suite 150




                                                      12
                                                                DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        dmincin@mincinlaw.com, cburke@mincinlaw.com
                        (702) 471-7432




                                                      14        MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      15        michael.napoli@akerman.com, cindy.ferguson@akerman.com;
                                                                catherine.kretzschmar@akerman.com; masterdocketlit@akerman.com
                                                      16
                                                                TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                      17        trichards@sagebrushlawyers.com

                                                      18        ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      19        ariel.stern@akerman.com, akermanlas@akerman.com

                                                      20        U.S. TRUSTEE - LV - 7
                                                                USTPRegion17.LV.ECF@usdoj.gov
                                                      21
                                                                MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                      22        INC.
                                                                mzirzow@lzlawnv.com, carey@lzlawnv.com; trish@lzlawnv.com; jennifer@lzlawnv.com;
                                                      23        zirzow.matthewc.r99681@notify.bestcase.com

                                                      24              ☐        b.       United States mail, postage fully prepaid:

                                                      25              ☐        c.       Personal Service:

                                                      26              I personally delivered the document(s) to the persons at these addresses:

                                                      27                              ☐       For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                      28              charge, or if no one is in charge by leaving the document(s) in a conspicuous place


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                                                       1               in the office.

                                                       2                               ☐       For a party, delivery was made by handling the document(s)
                                                                       to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                       3               place of abode with someone of suitable age and discretion residing there.

                                                       4               ☐       d.      By direct email (as opposed to through the ECF System):
                                                                       Based upon the written agreement of the parties to accept service by email or a
                                                       5               court order, I caused the document(s) to be sent to the persons at the email
                                                                       addresses listed below. I did not receive, within a reasonable time after the
                                                       6               transmission, any electronic message or other indication that the transmission was
                                                                       unsuccessful.
                                                       7
                                                                       ☐       e.       By fax transmission:
                                                       8
                                                                       Based upon the written agreement of the parties to accept service by fax
                                                       9               transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                       numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      10               of the record of the fax transmission is attached.

                                                      11               ☐       f.       By messenger:
              1731 Village Center Circle, Suite 150




                                                      12               I served the document(s) by placing them in an envelope or package addressed to
                                                                       the persons at the addresses listed below and providing them to a messenger for
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13               service.
                        (702) 471-7432




                                                      14        I declare under penalty of perjury that the foregoing is true and correct.

                                                      15        Dated: November 4, 2021.
                                                                                                        By: /s/ Bart K. Larsen, Esq,
                                                      16

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